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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

 Case No. 01-cr-00214-WYD

 UNITED STATES OF AMERICA,

             Plaintiff,

 v.

 1.    Willie James Small,
 2.    Dachaun Davis,
 3.    Keyonna Davis,
 4.    Alvin Green,
 5.    Theolian Lloyd,
 6.    Curtis Hawkins,
 7.    Zebedee Hall,
 8.    James Starkey,
 9.    Edward Palmer,
 10.   Fredric Williams,
 11.   Herbert Lewis, Jr.,
 12.   Angela Brewer,
 13.   Daniel McIntyre,
 14.   Jeff Abreu,
 15.   Max Cooper,
 16.   George Melvin Murray,
 17.   Ernest Gaddis,
 18.   Victor Mendinghall,
 19.   Sammy Lee Woods,
 20.   Ronald Dennis Clark,
 21.   Bridget Johnson,
 22.   Timothy Chandler,
 23.   Carlos Johnson,
 24.   Dwayne Vandyke,
 25.   Thurman Douglas McKnight,
 26.   Charles Young,
 27.   Brian Harris,
 28.   Dayne Drew,
 29.   Tommy Jones,
 30.   Dawan Eugene Smith,
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 31.     Angela Hernandez,
 32.     Sandra Davis,

                 Defendants.


                                    PROPOSED ORDER


         The Court has for consideration the government’s Motion to Withdraw. Upon

 consideration, it is

         ORDERED that the government’s Motion is granted. Colleen Covell is hereby allowed

 to withdraw from this case.

         IT IS SO ORDERED on this         day of ____________, 2012.




                                    WILEY Y. DANIEL, CHIEF JUDGE
                                    UNITED STATES DISTRICT COURT
                                    DISTRICT OF COLORADO
